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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK
                                                                                             6/16/2021

IN RE EUROPEAN GOVERNMENT                               Case No. 1:19-CV-2601
BONDS ANTITRUST LITIGATION


                       PROPOSED PRELIMINARY APPROVAL ORDER

           WHEREAS, plaintiffs Ohio Carpenters’ Pension Fund, Electrical Workers Pension Fund

 Local 103 I.B.E.W., and San Bernardino County Employees’ Retirement Association

 (“Plaintiffs”), on behalf of themselves and the other members of the Settlement Class, and

 defendants State Street Corporation and State Street Bank and Trust Company together with their

 affiliates and subsidiaries (“State Street,” and together with Plaintiffs, the “Parties”) have

 determined to settle all claims asserted against State Street and its predecessors, successors,

 assigns, subsidiaries, and affiliates, in this Action with prejudice on the terms and conditions set

 forth in the     Stipulation and Agreement of Settlement with State Street Corporation (the

 “Stipulation”), subject to approval of this Court (the “Settlement”);

           WHEREAS, Plaintiffs have made an application, pursuant to Rule 23 of the Federal Rules

 of Civil Procedure, for an order preliminarily approving the Settlement in accordance with the

 Stipulation, and approving notice of the Settlement to the Settlement Class as more fully described

 herein;

           WHEREAS, the Court has considered: (i) Plaintiffs’ motion for preliminary approval of

 the Settlement and the papers filed and arguments made in connection therewith; and (ii) the

 Stipulation and the exhibits attached thereto; and

           WHEREAS, unless otherwise defined herein, all capitalized terms contained in this Order

 shall have the same meanings as they have in the Stipulation;

           NOW THEREFORE, IT IS HEREBY ORDERED:
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       1.       Preliminary Approval of the Settlement – Pursuant to Fed. R. Civ. P. 23(e)(1)(B),

based on “the parties’ showing that the court will likely be able to (i) approve the proposal[s] under

Rule 23(e)(2); and (ii) certify the class for purposes of judgment on the proposal[s],” the Court

hereby preliminarily approves the Settlement, as embodied in the Stipulation, as described below.

       2.       Notice – Notice of Settlement is hereby stayed for a period of 180 days after the

entry of this Order. Prior to issuing notice, Scott+Scott Attorneys at Law LLP, Lowey Dannenberg

P.C., Labaton Sucharow LLP, and Berman Tabacco (together, “Co-Lead Counsel”) shall submit a

motion for the Court to approve the form and manner of notice of the Settlement.

       3.       CAFA Notice – No later than ten (10) days following the filing of a motion for the

Court to approve the form and manner of notice of the Settlement, State Street, at its own cost,

shall serve proper notice of the proposed Settlement upon those who are entitled to such notice

pursuant to the Class Action Fairness Act, 28 U.S.C. §§1715 et seq.

       4.       Termination of Settlement – If the Settlement is terminated as provided in the

Stipulation, the Settlement is not approved, or the Effective Date of the Settlement otherwise fails

to occur, this Order shall be vacated, rendered null and void and be of no further force and effect,

except as otherwise provided by the Stipulation, and this Order shall be without prejudice to the

rights of Plaintiffs, the other Settlement Class Members, and State Street, and the Parties shall

revert to their respective positions in the Action as of October 8, 2020, as provided in the

Stipulation.

       5.       Use of this Order – Neither this Order, the Stipulation (whether or not

consummated), the negotiations leading to the execution of the Stipulation, nor any proceedings

taken pursuant to or in connection with the Stipulation and/or approval of the Settlement (including

any arguments proffered in connection therewith) shall be: (i) offered against State Street or any




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of the other Released Parties as evidence of, or construed as, or deemed to be evidence of any

presumption, concession, or admission by State Street or any of the other Released Parties of the

truth of any fact alleged by Plaintiffs, the validity of any claim that was or could have been asserted

or the deficiency of any defense that has been or could have been asserted in this Action or in any

other litigation, or of any liability, negligence, fault, or other wrongdoing of any kind of State

Street or any of the other Released Parties, other than such proceedings as may be necessary to

effectuate the provisions of this Stipulation; or (ii) offered against Plaintiffs or any of the other

Settling Plaintiff Parties as evidence of, or construed as, or deemed to be evidence of any

presumption, concession, or admission by Plaintiffs or any of the other Settling Plaintiff Parties

that any of their claims are without merit or that State Street or any of the other Released Parties

had meritorious defenses, other than such proceedings as may be necessary to effectuate the

provisions of this Stipulation.

       6.       All proceedings in the Action with respect to State Street and the other Released

Parties are stayed until further order of the Court, except as may be necessary to implement the

Settlement set forth in the Stipulation or comply with the terms thereof.

       7.       The Court retains jurisdiction to consider all further applications arising out of or

connected with the proposed Settlement.

       SO ORDERED.


                                                       HON. VICTOR MARRERO
                                                       United States District Judge

DATED:          New York, NY
                 June 16, 2021




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